Case 2:85-cv-04544-DMG-AGR Document 1161-23 Filed 08/09/21 Page 1 of 4 Page ID
                                 #:44496




                     EXHIBIT S
Case 2:85-cv-04544-DMG-AGR Document 1161-23 Filed 08/09/21 Page 2 of 4 Page ID
                                 #:44497
Case 2:85-cv-04544-DMG-AGR Document 1161-23 Filed 08/09/21 Page 3 of 4 Page ID
                                 #:44498
Case 2:85-cv-04544-DMG-AGR Document 1161-23 Filed 08/09/21 Page 4 of 4 Page ID
                                 #:44499
